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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

KASHIE FERNANDEZ                                             CIVIL ACTION

VERSUS                                                       NO. 11-1322

JIM ROGERS, WARDEN                                           SECTION "A" (6)

                                               ORDER

       The Court, having considered the petition, the record, the applicable law and the

Report and Recommendation of the United States Magistrate Judge, and the failure of any

party to file an objection to the Magistrate Judge's Report and Recommendation, hereby

approves the Report and Recommendation of the United States Magistrate Judge and adopts

it as its opinion in this matter. Therefore,

       IT IS ORDERED that the petition of Kashie Fernandez for issuance of a writ of

habeas corpus under 28 U.S.C. § 2254, is hereby DENIED WITH PREJUDICE.

       January 11, 2012




                                               UNITED STATES DISTRICT JUDGE
